Case No. 1:20-cv-00694-PAB-MDB Document 222-1 filed 08/24/22 USDC Colorado pg 1
                                    of 2




                        Exhibit 1
             Summary of Grounds for Dismissal

                    Mostafa v. Garland, et al.,
              No. 20-cv-00694-PAB-SKC (D. Colo.)
Case No. 1:20-cv-00694-PAB-MDB Document 222-1 filed 08/24/22 USDC Colorado pg 2
                                    of 2




                       SUMMARY OF GROUNDS FOR DISMISSING CLAIMS

                   CLAIM                                     GROUNDS FOR DISMISSAL
                                              • Halal diet: Lack of standing/redressable injury
   Claim 1: Official-capacity RFRA claim      • Eid meal: Lack of standing/certainly impending injury
   (¶¶ 50-67)                                 • Ritual washing: Lack of standing/concrete
                                              injury/redressable injury
                                              • Group prayer: Failure to allege absence of rational basis
   Claim 2: Official-capacity free exercise   • Halal diet: Lack of standing/redressable injury
   claim (¶¶ 68-72)                           • Eid meal: Lack of standing/certainly impending injury
                                              • Ritual washing: Lack of standing/concrete
                                              injury/redressable injury

   Claim 3: Official-capacity equal           • Failure to allege dissimilar treatment of similarly situated
   protection claim (¶¶ 73-81)                inmates, purposeful discrimination, absence of rational basis

                                              • Contact with sons/stepson: Failure to allege absence of
   Claim 4: Official-capacity First           rational basis
   Amendment freedom of association           • Contact with grandchildren: Claim is moot/absence of live
   claims (¶¶ 82-96)                          case or controversy; failure to allege absence of rational
                                              basis
                                              • Contact with attorney: Failure to allege absence of rational
                                              basis

   Claims 5 and 6: Official-capacity          • No private right of action
   Rehabilitation Act claims (¶¶ 97-157)      • Lack of standing/traceable injury/redressable injury


   Claim 7: Bivens Eighth Amendment           • All Defendants: No Bivens remedy
   excessive force claims against Parry,      • Huddleston, Sterett, Armijo, and Edwards: Entitlement to
   Averitt, Garduno, Armijo, Edwards,         qualified immunity
   Huddleston, and Sterett (¶¶ 158-183)


   Claim 8: Bivens Eighth Amendment           • All Defendants: No Bivens remedy
   deliberate indifference claim against      • Chorosevic, Fellows: Absolute immunity as Public Health
   Huddleston, Sterett, Loewe, Naranjo,       Service officers
   Chorosevic, and Fellows (¶¶ 158-183)       • All Defendants: No Bivens remedy
                                              • All Defendants: Entitlement to qualified immunity


   Claim 10: Official-capacity
   Administrative Procedure Act claim         • No subject-matter jurisdiction
   (¶¶ 211-218)


   Claim 11: Official-capacity First          • Lack of standing/concrete injury/redressable injury
   Amendment access to courts claim (¶¶       • Failure to allege actual injury; loss of separately existing
   184-210)                                   non-frivolous right; absence of rational basis
